                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                          HARRISONBURG DIVISION


                                                         Action No: 5:17CV97
   John Doe 4                                            Date: 5/30/2019
   vs.                                                   Judge: Elizabeth K. Dillon
                                                         Court Reporter: S. Ferris
   Shenandoah Valley Juvenile Center Commission
                                                         Deputy Clerk: B. Davis



   Plaintiff Attorneys                            Defendant Attorneys
   Theordore A. Howard                            Harold Johnson
   Mirela Missova                                 Jason Botkins



  PROCEEDINGS:
  Hearing held as fairness hearing, for request of court approval for dismissal. Comments from
  Counsel. Additional briefing from Plaintiff due within 30 days. Reply by Defense due within
  14 days after filing of briefing. The Court orders formal notice to Office of Refugee
  Resettlement. The Court continues the fairness hearing, and chambers will be in touch with
  counsel for a new date. Written order forthcoming.




  Time in Court: 1:00p – 1:30p (30 min)




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